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9                                   UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                    )         No. CR 06-329 JSW
                                                  )
14           Plaintiff,                           )         [PROPOSED] ORDER AND STIPULATION
                                                  )         CONTINUING CHANGE OF PLEA
15      v.                                        )         HEARING FOR JACOB HINES FROM
                                                  )         JULY 20, 2006 TO AUGUST 10, 2006
16   WILLIAM MULLIGAN, et al.                     )
                                                  )
17           Defendants.                          )
                                                  )
18
19           The government and Defendant Jacob Hines hereby stipulate as follows:
20           1. The parties are currently scheduled for a change of plea hearing on July 20, 2006. The
21   government has provided a written plea proposal to counsel for Defendant Hines, but the parties
22   are still negotiating certain details of the plea agreement, and need additional time to finalize the
23   agreement. The parties understand that the Court is not available on Thursday, July 27, and
24   counsel for Defendant Hines’ schedule would make a hearing on Thursday, August 3
25   problematic.
26           2. Given these circumstances, as well as the distance between Defendant Hines’
27   residence and the Federal Building, the parties stipulate that the change of plea hearing currently
28   set for July 20, 2006 should be vacated as to Defendant Hines, and rescheduled for August 10,

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1    2006.

2       IT IS SO STIPULATED.

3
4    DATED: ___7/19/06__________________         _________/s/_______________________
                                                 TRACIE L. BROWN
5                                                Assistant United States Attorney

6
7    DATED: ____7/19/06___________________       ___/s/_____________________________
                                                 GEORGE BOISSEAU
8                                                Attorney for Jacob Hines

9
     IT IS SO ORDERED.
10
11          July 19, 2006
     DATED:_____________________                 ________________________________
12                                               THE HON. JEFFREY S. WHITE
                                                 United States Magistrate Judge
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     STIPULATION AND ORDER
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